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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

DEMARCUS VIDAL COLEMAN,                    )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )   Case No. 2:19-cv-00899-LSC-SGC
                                           )
ZACKERY McLEMORE, et al.,                  )
                                           )
       Defendants.                         )

                    MEMORANDUM OPINION AND ORDER

      The magistrate judge entered a report and recommendation on August 24,

2020. (Doc. 31). The report, which construed the defendants’ special report as a

motion for summary judgment, recommended the motion be granted in part and

denied in part. (Id.). Specifically, the magistrate judge recommended the motion be

granted as to the plaintiff’s claims: (1) against the Alabama Department of

Corrections; and (2) concerning the denial or delay of medical and mental health

care. (Id.). The magistrate judge further recommended the motion be denied as to

the plaintiff’s Eighth Amendment excessive force claims against the correctional

officer defendants in their individual capacities. (Id.). Although the report and

recommendation advised the parties of their rights to file specific written objections

within fourteen days, neither party has objected.
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      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the court ADOPTS the

magistrate judge’s report and ACCEPTS the recommendation. Accordingly, the

defendants’ motion for summary judgment is: (1) GRANTED as to the plaintiff’s

claims against the Alabama Department of Corrections and claims concerning the

denial or delay of medical and mental health care; and (2) DENIED as to the

remaining claims. This matter is REFERRED to the magistrate judge for further

proceedings.

      DONE and ORDERED on September 30, 2020.



                                          _____________________________
                                                  L. Scott Coogler
                                             United States District Judge
                                                                            160704




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